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                                                                                                                  - Correspondence



                                                                                                  Yitz Kopel <ykopel@bursor.com>



  Rosenfeld v. AC2T, Inc., No. 1:20-cv-04662-FB-PK (E.D.N.Y.) - Correspondence
  10 messages

  Dimon, Anna G. <AGDimon@venable.com>                                                    Thu, Feb 24, 2022 at 5:51 PM
  To: Yitz Kopel <ykopel@bursor.com>
  Cc: "Boyle, Edward P." <EPBoyle@venable.com>, Alec Leslie <aleslie@bursor.com>, Cal Mayo
  <cmayo@mayomallette.com>


    Yitz:



    Please see the attached correspondence related to the Rosenfeld matter.



    Best,

    Anna



    Anna G. Dimon | Associate | Venable LLP
    t 212.503.0698 | f 212.218.2200
    1290 Avenue of the Americas, 20th Floor, New York, NY 10104

    AGDimon@Venable.com | www.Venable.com


    ************************************************************************
    This electronic mail transmission may contain confidential or privileged information. If
    you believe you have received this message in error, please notify the sender by reply
    transmission and delete the message without copying or disclosing it.
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  Boyle, Edward P. <EPBoyle@venable.com>                                                Tue, Mar 8, 2022 at 12:30 PM
  To: Yitz Kopel <ykopel@bursor.com>
  Cc: Alec Leslie <aleslie@bursor.com>, Cal Mayo <cmayo@mayomallette.com>, "Dimon, Anna G."
  <AGDimon@venable.com>


    Yitz – Please let me know if you’re going to respond to this letter, and if so, when. Thanks.


    Ed



                                                                     "Q"
    Edward P. Boyle | Venable LLP

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                                                                                                                  - Correspondence
    t 212.808.5675 | f 212.307.5598 | m 646.339.8080
    1270 Avenue of the Americas, New York, NY 10020

    EPBoyle@Venable.com | www.Venable.com

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  Yitz Kopel <ykopel@bursor.com>                                                         Wed, Mar 9, 2022 at 3:18 PM
  To: "Boyle, Edward P." <EPBoyle@venable.com>
  Cc: Alec Leslie <aleslie@bursor.com>, Cal Mayo <cmayo@mayomallette.com>, "Dimon, Anna G."
  <AGDimon@venable.com>

    Ed:

    It seems to me that if the witness will sit for a deposition, he can be examined by both sides on this issue. That
    should provide clarity and context that could either resolve the dispute, or provide relevant in any future court decision.

    Thanks,

    Yitz
    [Quoted text hidden]
    --
    Yitz Kopel
    Bursor & Fisher, P.A.
    888 Seventh Ave.
    New York, NY 10019
    646-837-7127 (tel)
    212-989-9163 (fax)
    ykopel@bursor.com
    www.bursor.com

    PRIVILEGED COMMUNICATION
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    addressee (or are authorized to receive this email for the addressee), you may not copy, use or distribute it. If you
    receive this email in error, please contact the sender immediately and permanently delete the email from any and all
    storage devices under your control.


  Boyle, Edward P. <EPBoyle@venable.com>                                                 Wed, Mar 9, 2022 at 5:31 PM
  To: Yitz Kopel <ykopel@bursor.com>
  Cc: Alec Leslie <aleslie@bursor.com>, Cal Mayo <cmayo@mayomallette.com>, "Dimon, Anna G."
  <AGDimon@venable.com>


    Yitz,


    I disagree with the suggestion that we should take the witness’s deposition before the
    document issues are resolved. This will waste the time of the parties and the witness. AC2T
    has the right to examine Dr. Donald Yee regarding the documents he produces in response to
    the subpoena. If he does not produce all his responsive, non-privileged documents before the
    deposition, he would likely have to come back for a second deposition day. That is not in
    anyone’s interest.

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                                                                                                                  - Correspondence

    And, as noted in my February 24 letter, your privilege log does not set forth a facially
    plausible basis for Yee to withhold documents on work product grounds. As the party
    asserting privilege, it was your obligation to provide a log that sets forth sufficient facts to
    show, prima facie, that the doctrine applies. See Fleisher v. Phoenix Life Ins. Co., No. 11-cv-
    8405 (CM) (JCF), 2013 WL 42374 at *2 (S.D.N.Y. Jan. 3, 2013). In the absence of such a
    showing, the materials in question must be produced. See Abu-Nassar v. Elders Futures Inc.,
    No. 88-cv-7906 (PLK), 1991 WL 45062 at *19 (S.D.N.Y. Mar. 28, 1991).


    Accordingly, please confirm that you or Yee will promptly produce these six emails.
    Alternatively, please supplement your privilege log so that it sets forth sufficient facts to
    support work product protection, so I can assess whether to seek judicial relief on this issue
    prior to taking Yee’s deposition.


    Thanks,
    Ed




    Edward P. Boyle | Venable LLP

    t 212.808.5675 | f 212.307.5598 | m 646.339.8080
    1270 Avenue of the Americas, New York, NY 10020

    EPBoyle@Venable.com | www.Venable.com




    From: Yitz Kopel <ykopel@bursor.com>
    Sent: Wednesday, March 9, 2022 3:19 PM
    To: Boyle, Edward P. <EPBoyle@Venable.com>
    Cc: Alec Leslie <aleslie@bursor.com>; Cal Mayo <cmayo@mayomallette.com>; Dimon, Anna G.
    <AGDimon@Venable.com>
    Subject: Re: Rosenfeld v. AC2T, Inc., No. 1:20-cv-04662-FB-PK (E.D.N.Y.) - Correspondence



    Caution: External Email



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  Yitz Kopel <ykopel@bursor.com>                                                                         Wed, Mar 9, 2022 at 5:55 PM
  To: "Boyle, Edward P." <EPBoyle@venable.com>

https://mail.google.com/mail/u/1/?ik=20e620e5d3&view=pt&search=all&permthid=thread-f%3A1725686734368563382&simpl=msg-f%3A1725686734…   3/6
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                                                                                                                  - Correspondence
  Cc: Alec Leslie <aleslie@bursor.com>, Cal Mayo <cmayo@mayomallette.com>, "Dimon, Anna G."
  <AGDimon@venable.com>

    Ed:

    If you think you can convince the court that the privilege was waived that's fine. To your point, we might as well get a
    ruling on the permissibility of questions regarding any communications as well. Please send over your portion of a joint
    letter to Judge Kuo and we'll insert our portion.

    Thanks,

    Yitz
    [Quoted text hidden]



  Boyle, Edward P. <EPBoyle@venable.com>                                                Wed, Mar 16, 2022 at 5:25 PM
  To: Yitz Kopel <ykopel@bursor.com>
  Cc: Alec Leslie <aleslie@bursor.com>, Cal Mayo <cmayo@mayomallette.com>, "Dimon, Anna G."
  <AGDimon@venable.com>


    Yitz,


    I’m following up on our conversation Friday afternoon about the documents in Dr. Donald
    Yee’s possession that you assert are protected by the work product doctrine. In the call, I
    asked you to consider producing these documents in redacted form, to shield whatever
    thoughts and impressions you may conveyed to Yee. Having thought about this more, I
    propose that, if such a redacted production is made, I will hold off on any potential motion to
    compel regarding these documents until after we have taken Yee’s deposition testimony
    about these communications. To your earlier point, I think this approach will maximize the
    clarity and context provided by the deposition, and hopefully is enough to resolve the issue
    one way or the other. Let me know if you agree.


    AC2T reserves all its rights on this issue, and I understand Plaintiff does as well.
    [Quoted text hidden]
    [Quoted text hidden]



  Yitz Kopel <ykopel@bursor.com>                                                        Thu, Mar 17, 2022 at 4:59 PM
  To: "Boyle, Edward P." <EPBoyle@venable.com>
  Cc: Alec Leslie <aleslie@bursor.com>, Cal Mayo <cmayo@mayomallette.com>, "Dimon, Anna G."
  <AGDimon@venable.com>

    Ed:

    We're not going to agree to this, and I want to put you on notice that we will suspend the deposition to seek a protective
    order in the event of any questioning regarding communications between Dr. Yee and me. I have reviewed the applicable
    authorities on this matter, and I am extremely confident in our position. Any communications are protected as:

    1. Attorney work product. See rule 26(b)(3). These communications took place with the express intent of preparation for
    litigation, with an agreement to maintain confidentiality.

    2. Discovery to an informal, non-testifying consultant. See rule 26(b)(4)(D) and 1970 committee notes ("the subdivision
    precludes discovery against experts who were informally consulted in preparation for trial, but not retained or specially
    employed."). He gave us scientific assistance for use in our complaints.
https://mail.google.com/mail/u/1/?ik=20e620e5d3&view=pt&search=all&permthid=thread-f%3A1725686734368563382&simpl=msg-f%3A1725686734…   4/6
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    3. Relevance. As I've indicated, we will not object to any discovery merely because it may have been the subject of
    communications between Dr. Yee and me. Rather, the objection is to discovery of the substance of our communications
    or whether we discussed any particular topic. Based on this, I don't understand how the substance of our
    communications is relevant to this action. It appears to be intended to gain insight into litigation strategy rather than to
    discover facts or opinions relevant to this action.

    Your proposal is inadequate because nothing in the communications is discoverable beyond what is in our privilege log.

    Thanks,

    Yitz
    [Quoted text hidden]



  Boyle, Edward P. <EPBoyle@venable.com>                                               Wed, Mar 23, 2022 at 11:53 AM
  To: Yitz Kopel <ykopel@bursor.com>
  Cc: Alec Leslie <aleslie@bursor.com>, Cal Mayo <cmayo@mayomallette.com>, "Dimon, Anna G."
  <AGDimon@venable.com>


    Thanks for your response, Yitz. We are similarly confident in our position. And, I prefer to
    take discovery efficiently, without the distractions and delays of motion practice. So, AC2T
    will not seek production of these emails prior to Dr. Yee’s deposition. We do plan to ask Dr.
    Yee questions relating to the foundation of your work product claim, without getting into the
    substance of his communications with you.
    [Quoted text hidden]
    [Quoted text hidden]



  Cal Mayo <cmayo@mayomallette.com>                                                                    Wed, Mar 23, 2022 at 1:36 PM
  To: "Boyle, Edward P." <EPBoyle@venable.com>, Yitz Kopel <ykopel@bursor.com>
  Cc: Alec Leslie <aleslie@bursor.com>, "Dimon, Anna G." <AGDimon@venable.com>


    Counsel,


    Dr. Yee will not appear for his deposition more than once. Please resolve any issues about his
    deposition in advance.


    Cal Mayo



                                     J. Cal Mayo, Jr.
                                     Mayo Mallette
                                     Oxford & Jackson Offices

                                     E: cmayo@mayomallette.com
                                     O: 662.236.0055 J: 601.366.1106
                                     D: 662.513.4897 C: 662.801.3837
                                     2094 Old Taylor Road, Suite 200 | Oxford, MS 38655
                                     4400 Old Canton Road, Suite 150 | Jackson, MS 39211
                                     mayomallette.com

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                                                                                                                  - Correspondence

  Yitz Kopel <ykopel@bursor.com>                                                          Tue, Aug 16, 2022 at 7:04 PM
  To: David Tyler Adams <DAdams@kasowitz.com>, Alec Leslie <aleslie@bursor.com>, "Daniel R. Benson"
  <DBenson@kasowitz.com>, "Maria H. Ruiz" <MRuiz@kasowitz.com>, Jacob Abrams <jabrams@kasowitz.com>

    Ty:

    I misremembered my conversations with Ed when we spoke earlier today. Ed confirmed in writing to me that AC2T would
    not pursue these emails prior to the deposition. See below. Please confirm ASAP that you will honor this commitment.

    Thanks,

    Yitz
    [Quoted text hidden]




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